              IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                    COPRUS CHRISTI DIVISION

WALTON CUDE                          §
    Plaintiff                        §
                                     §
V.                                   §        CIVIL ACTION NO. 2:19cv388
                                     §
AEP TEXAS INC.                       §
     Defendant                       §


     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
      EXCLUDE EXPERT TESTIMONTY OF BILL WINKFEIN


TO THE HONORABLE UNITED STATES DISTRICT COURT:

       COMES NOW Plaintiff Walton Cude (“Mr. Cude”), Plaintiff in the

above entitled and numbered cause and files this his Response to Defendant

AEP Texas Inc.’s (“AEP”) Motion to Exclude Expert Testimony of Plaintiff’s

Expert, Bill Winkfein (“Mr. Winkfein”), and would respectfully show as follows:


                                   I.
                            LEGAL STANDARD

       In Daubert v. Merrell Dow Pharmaceuticals, the United States Supreme Court

held that Federal Rule of Evidence 702 is the proper standard for determining

the admissibility of expert testimony. Daubert v. Merrell Dow Pharmaceuticals, 509

U.S. 579, 597-98, 113 S. Ct. 2786 (1993). Rule 702 states as follows:

       A witness who is qualified as an expert by knowledge, skill,
       experience, training, or education may testify in the form of an
       opinion or otherwise if: (a) the expert’s scientific, technical, or
       other specialized knowledge will help the trier of fact to
       understand the evidence or to determine a fact in issue; (b) the
       testimony is based on sufficient facts or data; (c) the testimony
       is the product of reliable principles and methods; and (d) the
       expert has reliably applied the principles and methods to the
       facts of the case.

       Fed. R. Evid. 702.

       Under Daubert, a trial court acts as a “gatekeeper,” making a

“preliminary assessment of whether the reasoning or methodology underlying

the testimony is scientifically valid and of whether the reasoning or

methodology properly can be applied to the facts in issue.” Daubert, 509 U.S. at

592–93; Pipitone v. Biomatrix, Inc., 288 F.3d 239, 243–44 (5th Cir. 2002). Daubert

and its principles apply to both scientific and non-scientific expert testimony.

Kumho Tire v. Carmichael, 526 U.S. 137, 147, 119 S. Ct. 1167 (1999). The

responding party [in a motion to exclude expert testimony] does not, however,

have the burden of proving that the expert’s opinions are correct. Tanner v.

Westbrook, 174 F.3d 542, 547 (5th Circ. 1999). Vigorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of

proof are the traditional and appropriate means of attacking shaky but

admissible evidence. Daubert at 596.


                                II.
                 EXHIBITS IN SUPPORT OF MOTION

       The following exhibits are attached in support of this motion and are

incorporated by reference:


       Exhibit A:     Deposition transcript of Bill Winkfein
       Exhibit B:     AEP’s Designation of Experts and Reports of Ricardo
                      Torres and Don Russell

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                             III.
     ADMISSIBILITY OF MR. WINKFEIN’S EXPERT TESTIMONY

        The proponent of expert testimony has the burden of demonstrating

that "(1) the expert is qualified, (2) the evidence is relevant to the suit, and (3)

the evidence is reliable." Half Price Books, Records, Magazines, Inc. v.

Barnesandnoble.com, LLC, No. 3:02-CV-2518-G, 2004 U.S. Dist. LEXIS 23691,

at *7 (N.D. Tex. Nov. 22, 2004).

1.      Mr. Winkfein is qualified to testify as an electrical expert.

        Experts need not be highly qualified to testify, and differences in

expertise go to the weight of the testimony, rather than admissibility. Huss v.

Gayden, 571 F.3d 442, 452 (5th Cir. 2009). The basis of an expert's specialized

knowledge may come from a variety of sources, including academic training and

credentials or practical experience. S. Cement Co. v. Sproul, 378 F.2d 48, 49 (5th

Cir.1967). Portillo v. Sears Roebuck & Co., No. EP-13-CV-369-PRM, 2014 U.S.

Dist. LEXIS 197496, at *5-6 (W.D. Tex. Sep. 17, 2014). An expert may establish

"specialized knowledge" through extensive experience and credentials in his

field. Half Price Books, Records, Magazines, Inc. v. Barnesandnoble.com, LLC, No. 3:02-

CV-2518-G, 2004 U.S. Dist. LEXIS 23691, at *10 (N.D. Tex. Nov. 22, 2004).

        Here, Mr. Winkfein is a master electrician licensed by the state of Texas

and a member of the International Brotherhood of Electrical Workers. (Ex. A,

12:6-23). Mr. Winkfein has over thirty years of experience as a master electrician

and has provided internal wiring and external hookups throughout the United

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States. (Ex. A, 12:4-6; 15:10-16). AEP argues that Mr. Winkfein is not qualified

to give his opinions regarding the cause of the fire because he has never testified

as an expert before, he has never worked for an electrical utility, and because he

did not use the standards of the National Electrical Safety Code and NFPA 921.

Mr. Winkfein’s qualifications derive not only from his academic training, but

from practical experience. Mr. Winkfein is a licensed master electrician with

specialized knowledge through his extensive experience and credentials in the

electrician industry; he is qualified to opine in matters pertaining to the electrical

faults at issue in this case.

2.      Mr. Winkfein’s testimony is relevant.

        An expert’s testimony does not need to relate directly to the ultimate

issue that is to be resolved by the trier of fact; it only needs to be relevant to

evaluating a factual matter. Smith v. Ford Motor Co., 215 F.3d 713, 720 (7th Cir.

2000). Unlike an ordinary witness, see Rule 701, an expert is permitted wide

latitude to offer opinions, including those that are not based on firsthand

knowledge or observation. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592,

113 S. Ct. 2786, 2796 (1993).

        Mr. Cude’s home burned to the ground in the middle of the night. Mr.

Cude and others witnessed AEP’s power lines arcing and sparking as the house

burned. AEP’s expert witnesses were unable to determine the cause of the fire.

AEP’s expert witness, Ricardo Torres is a certified fire investigator and his

expert report states that the cause of the fire is classified as Undetermined. (Ex.



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B, pg. 11). Mr. Torres’ expert report also states that it was impossible to

complete a forensic investigation into the origin and cause of the fire due to the

deteriorated condition of the fire scene (Ex. B, pg. 11). AEP’s expert witness,

B. Don Russell, does not point to any specific cause of the fire. (Ex. B, pg. 25-

28). Mr. Winkfein contends that a faulty transformer, faulty grounding, and a

malfunctioning fuse can create conditions that lead to a fire of this type. (Ex. A,

200:6-11; 199:18-21; 200:22-25; 201:1). AEP’s inability to point to a cause of the

fire exemplifies the fact that Mr. Winkfein’s opinions as a master electrician are

relevant to evaluating the issues in this suit.

3.     Mr. Winkfein’s testimony is reliable.

       The final rule 702 hurdle is reliability, which is not a question that can

be answered by some generic test. The variability of type and purpose of the

particular testimony at issue requires flexibility in answering the reliability

inquiry. Mathis v. Exxon Corp., 302 F.3d 448, 460 (5th Cir. 2002).

       Daubert, of course, provides an illustrative list of factors that may
       aid a court in evaluating reliability: "(1) whether the expert's
       theory can be or has been tested; (2) whether the theory has been
       subject to peer review and publication; (3) the known or potential
       rate of error of a technique or theory when applied; (4) the
       existence and maintenance of standards and controls; and (5) the
       degree to which the technique or theory has been generally
       accepted in the scientific community." Id.

The factual basis of an expert’s opinion generally relates to the weight a jury

should give that opinion and the expert’s credibility, not to the testimony’s

admissibility. In Re Scrap Metal Antitrust Litig., 527 F.3d at 531-32; see Primrose

Oper. Co. v. National Am. Ins., 382 F.3d 546, 562 (5th Cir. 2004) (questions about


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bases and sources of expert’s opinion generally affect weight to be assigned to

that opinion rather than its admissibility and should be left for jury’s

consideration).


        Here, factors (3) and (5) do not apply to Mr. Winkfein’s theory. AEP

contends that Mr. Winkfein’s theory was not properly investigated and tested,

despite AEP’s own experts concluding that it was impossible to complete an

investigation. Mr. Winkfein relied on the National Electric Code, and the

Lineman & Cableman’s Code, both published works, to formulate his theory

that AEP failed to maintain the transformer, grounding, and fuse on the utility

pole that provided electricity to Mr. Cude’s home, all of which could result in a

fire of this type and is consistent with the observations of Cude and others. (Ex.

A, 96:2-11; 96:23-25).


                                    IV.
                                CONCLUSION

        Mr. Winkfein satisfies the qualification and reliability requirements of

Daubert. Mr. Winkfein is a master electrician licensed by the state of Texas, a

member of the International Brotherhood of Electrical Workers, and has

provided internal wiring and external hookups throughout the United States for

over thirty years. Mr. Winkfein relied on published works, in conjunction with

his thirty years of experience as a master electrician to formulate his theory. Mr.

Winkfein’s testimony satisfies the Daubert analysis and is a proper expert witness

in this case.


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                                      V.
                                    PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Walton Cude

prays that after considering Defendant’s motion, this response, and after

hearing, the Court deny Defendant AEP’s Motion to Exclude the Expert

Report and Testimony of Bill Winkfein, and that Mr. Cude has all other relief,

in law and in equity to which it shall be justly entitled.

                               Respectfully submitted,

                               /s/ John Swallow /s/
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                        CERTIFICATE OF SERVICE

       I certify that on Wednesday, December 23, 2020 a true and correct copy

of the above and foregoing was served on the following persons in the manner

set forth below:

       VIA ELECTRONIC SERVICE
       G. Don Schauer
       SCHAUER & SIMANK, P.C.
       615 N. Upper Broadway, Suite 700
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                                                    /s/ John Swallow /s/
                                              John Swallow


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